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                                          Department of Justice

                                            U.S. Attorney’s Ofﬁce

                                        Southern District of New York


FOR IMMEDIATE RELEASE                                                                 Thursday, June 8, 2017

 Bronx Man And Michigan Man Arrested For Terrorist Activities
      On Behalf Of Hizballah’s Islamic Jihad Organization
Joon H. Kim, the Acting United States Attorney for the Southern District of New York, Dana Boente, the
Acting Assistant Attorney General for National Security, William F. Sweeney Jr., the Assistant Director-in-
Charge of the New York Ofﬁce of the Federal Bureau of Investigation (“FBI”), and James P. O’Neill, the
Commissioner of the Police Department for the City of New York (“NYPD”), announced that ALI KOURANI
and SAMER EL DEBEK, a/k/a “Samer Eldebek,” were arrested on Thursday, June 1, 2017, on charges
related to their alleged activities on behalf of Hizballah, a designated foreign terrorist organization.

KOURANI was arrested in the Bronx for providing, attempting, and conspiring to provide material support to
Hizballah; receiving and conspiring to receive military-type training from Hizballah; a related weapons
offense that is alleged to have involved, among other weapons, a rocket-propelled grenade launcher and
machine guns; violating and conspiring to violate the International Emergency Economic Powers Act
(“IEEPA”); and naturalization fraud to facilitate an act of international terrorism. KOURANI was presented on
Friday, June 2, 2017, before Magistrate Judge Barbara Moses in Manhattan federal court.

EL DEBEK was arrested in Livonia, Michigan, outside of Detroit, for providing, attempting, and conspiring to
provide material support to Hizballah; receiving and conspiring to receive military-type training from
Hizballah; use of weapons in connection with a crime of violence that is alleged to have involved, among
other weapons, explosives, a rocket-propelled grenade launcher, and machine guns; and violating and
conspiring to violate IEEPA. EL DEBEK was presented on Monday, June 5, 2017, before Magistrate Judge
Henry Pitman in Manhattan federal court.

Acting Manhattan U.S. Attorney Joon H. Kim said: “Today, we announce serious terrorism charges against
two men who allegedly trained with and supported the Islamic Jihad Organization, a component of the
foreign terrorist organization Hizballah. Recruited as Hizballah operatives, Samer El Debek and Ali Kourani
allegedly received military-style training, including in the use of weapons like rocket-propelled grenade
launchers and machine guns for use in support of the group’s terrorist mission. At the direction of his
Hizballah handlers, El Debek allegedly conducted missions in Panama to locate the U.S. and Israeli
Embassies and to assess the vulnerabilities of the Panama Canal and ships in the Canal. Kourani allegedly
conducted surveillance of potential targets in America, including military and law enforcement facilities in
New York City. Thanks to the outstanding work of the FBI and NYPD, the allegedly destructive designs of
these two Hizballah operatives have been thwarted, and they will now face justice in a Manhattan federal
court.”

FBI Assistant Director-in-Charge William F. Sweeney Jr. said: “The charges announced today reveal once
again that the New York City region remains a focus of many adversaries, demonstrated as alleged in this
instance by followers of a sophisticated and determined organization with a long history of coordinating
violent activities on behalf of Hizballah. Our announcement today also reveals, however, that the dozens of
agencies working together with our FBI JTTFs nationwide are just as determined to disrupt the plans of
those working to harm our communities. I’d like to thank the hundreds of investigators who comprise the
FBI’s New York JTTF and display constant vigilance on our behalf, and I encourage the public to remain
engaged and to immediately report suspicious activity to law enforcement.”

NYPD Commissioner James P. O’Neill said: “As part of his work for Hezbollah, Kourani and others allegedly
conducted covert surveillance of potential targets, including U.S. military bases and Israeli military personnel
here in New York City. Pre-operational surveillance is one of the hallmarks of Hezbollah in planning for
future attacks. As alleged, Kourani, on at least two occasions, received sophisticated military training
overseas, including the use of a rocket propelled grenade. In addition, El Debek is charged in an unrelated
complaint, for allegedly possessing extensive bomb making training received from Hezbollah. Today’s
charges of two for their work on behalf of Hezbollah is a tribute to the collaborative work of the agents and
detectives of the Joint Terrorism Task Force.”

As alleged in the criminal Complaints against KOURANI and EL DEBEK,[1] both of which were unsealed
today in Manhattan federal court:

                      Background on Hizballah and the Islamic Jihad Organization

Hizballah is a Lebanon-based Shia Islamic organization with political, social, and terrorist components.
Hizballah was founded in the 1980s with support from Iran after the 1982 Israeli invasion of Lebanon, and its
mission includes establishing a fundamentalist Islamic state in Lebanon. Since Hizballah’s formation, the
organization has been responsible for numerous terrorist attacks that have killed hundreds, including United
States citizens and military personnel. In 1997, the U.S. Department of State designated Hizballah a Foreign
Terrorist Organization, pursuant to Section 219 of the Immigration and Nationality Act, and it remains so
designated today. In 2001, pursuant to Executive Order 13224, the U.S. Department of State designated
Hizballah a Specially Designated Global Terrorist entity. In 2010, State Department ofﬁcials described
Hizballah as the most technically capable terrorist group in the world, and a continued security threat to the
United States.

The Islamic Jihad Organization (“IJO”), which is also known as the External Security Organization and “910,”
is a component of Hizballah responsible for the planning and coordination of intelligence, counterintelligence,
and terrorist activities on behalf of Hizballah outside of Lebanon. In July 2012, an IJO operative detonated
explosives on a bus transporting Israeli tourists in the vicinity of an airport in Burgas, Bulgaria, which killed
six people and injured 32 others. Law enforcement authorities have disrupted several other IJO attack-
planning operations around the world, including the arrest of an IJO operative surveilling Israeli targets in
Cyprus in 2012, the seizure of bomb-making precursor chemicals in Thailand in 2012, including chemicals
manufactured by a medical devices company based in Guangzhou, China (“Guangzhou Company-1”), and a
similar seizure of chemicals manufactured by Guangzhou Company-1 in Cyprus in May 2015 in connection
with the arrest of another IJO operative.

                                 KOURANI’s Alleged Support of Hizballah

KOURANI, who was born in Lebanon, attended Hizballah-sponsored weapons training in Lebanon in 2000
when he was approximately 16 years old. After lawfully entering the United States in 2003, KOURANI
obtained a Bachelor of Science in biomedical engineering in 2009, and a Masters of Business Administration
in 2013.

KOURANI and certain of his relatives were present during the summer 2006 conﬂict between Israel and
Hizballah in Lebanon, when a residence belonging to his family was destroyed. KOURANI was
subsequently recruited to join the IJO by 2008. In August 2008, KOURANI submitted an application for
naturalization in the United States in which he falsely claimed, among other things, that he was not afﬁliated
with a terrorist organization. In April 2009, KOURANI became a naturalized citizen and was issued a United
States passport. Despite claiming in his passport application that he had no travel plans, KOURANI traveled
to Guangzhou, China – the location of Guangzhou Company-1 – on May 3, 2009. He later claimed to the
FBI that the purpose of the trip was to meet with medical device manufacturers and other businessmen.

KOURANI was assigned an IJO handler, or mentor, responsible for providing him with taskings, debrieﬁngs,
and arranging training. KOURANI sometimes communicated with his handler using coded email
communications, including messages sent by the handler that informed KOURANI of the need to return to
Lebanon. In order to establish contact with his handler when KOURANI returned to Lebanon, KOURANI
called a telephone number associated with a pager (the “IJO Pager”) and provided a code that he
understood was speciﬁc to him. After KOURANI called the IJO Pager, the handler would contact KOURANI
to set up an in-person meeting by calling a phone belonging to one of KOURANI’s relatives. The IJO also
provided KOURANI with additional training in tradecraft, weapons, and tactics. In 2011, for example,
KOURANI attended an IJO military training camp located in the vicinity of Birkat Jabrur, Lebanon, where he
was provided with military-tactics and weapons training, including training in the use of a rocket propelled
grenade launcher, an AK-47 assault riﬂe, an MP5 submachine gun, a PKS machine gun (a Russian-made
belt-fed weapon), and a Glock pistol.

Based on requests from IJO personnel, which were conveyed during periodic in-person meetings when
KOURANI returned to Lebanon, KOURANI also conducted operations that included searching for weapons
suppliers in the United States who could provide ﬁrearms to support IJO operations, identifying individuals
afﬁliated with the Israeli Defense Force, gathering information regarding operations and security at airports in
the United States and elsewhere, and surveilling U.S. military and law enforcement facilities in Manhattan
and Brooklyn. KOURANI transmitted some of the products of his surveillance and intelligence-gathering
efforts back to IJO personnel in Lebanon using digital storage media.

                                 EL DEBEK’s Alleged Support of Hizballah

EL DEBEK, a naturalized U.S. citizen, was ﬁrst recruited by Hizballah in late 2007 or early 2008, began to
receive a salary from Hizballah shortly thereafter, and was paid by Hizballah through approximately 2015. In
July 2006, shortly before he was recruited by Hizballah, EL DEBEK expressed by email his support for
Hassan Nasrallah, the leader of Hizballah.

EL DEBEK received military training from Hizballah in Lebanon on several occasions, from approximately
2008 through approximately 2014. EL DEBEK received training in basic military tactics, the handling of
various weapons, surveillance and counter-surveillance techniques, and the creation and handling of
explosives and explosive devices. Based on information EL DEBEK provided to the FBI, FBI bomb
technicians have assessed that EL DEBEK received extensive training as a bomb-maker, and has a high
degree of technical sophistication in the area. EL DEBEK received by email in 2010 a list of raw materials
that could be sent from Syria or Dubai, including items often used in explosives and improvised explosive
devices.

EL DEBEK also conducted missions for Hizballah in Thailand and Panama. In May 2009, EL DEBEK
traveled from Lebanon, through Malaysia, to Thailand, where his mission was to clean up explosive
precursors in a house in Bangkok that others had left because they were under surveillance. EL DEBEK
used his U.S. passport to enter and leave Thailand, consistent with his instructions from Hizballah to use his
U.S. passport in that manner, so he could travel from Malaysia to Thailand without obtaining a visa.

EL DEBEK ﬁrst traveled to Panama for Hizballah in 2011, where his operational tasks included locating the
U.S. and Israeli Embassies, casing security procedures at the Panama Canal and the Israeli Embassy, and
locating hardware stores where explosive precursors could be purchased. Shortly before traveling to
Panama, EL DEBEK updated his status on Facebook with a post that read, in part, “Do not make peace or
share food with those who killed your people.”

In early 2012, EL DEBEK again traveled to Panama for Hizballah, passing through New York and New
Jersey, and was asked to identify areas of weakness and construction at the Panama Canal, as well as
provide information about how close someone could get to a ship passing through the Canal. Upon his
return from Panama, EL DEBEK’s IJO handlers asked him for photographs of the U.S. Embassy there and
details about its security procedures.

EL DEBEK has told the FBI that he was detained by Hizballah from December 2015 to April 2016 and falsely
accused of spying for the United States. Between November 2014 and February 2017, EL DEBEK, who
received religious training from Hizballah, has conducted more than 250 Facebook searches using search
terms such as “martyrs of the holy defense,” “martyrs of Islamic resistance,” “Hizballah martyrs,” and
“martyrs of the Islamic resistance in Lebanon.”

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KOURANI, 32, of the Bronx, is charged with providing material support and resources to a designated
foreign terrorist organization, which carries a maximum sentence of 20 years in prison; conspiracy to provide
material support and resources to a designated foreign terrorist organization, which carries a maximum
sentence of 20 years in prison; receiving military-type training from a designated foreign terrorist
organization, which carries a sentence of 10 years in prison or a ﬁne; conspiracy to receive military-type
training from a designated foreign terrorist organization, which carries a maximum sentence of ﬁve years in
prison; conspiracy to possess, carry, and use ﬁrearms and destructive devices during and in relation to
crimes of violence, which carries a maximum sentence of life in prison; making and receiving a contribution
of funds, goods, and services to and from Hizballah, in violation of IEEPA, which carries a maximum
sentence of 20 years in prison; conspiracy to make and receive a contribution of funds, goods, and services
to and from Hizballah, in violation of IEEPA, which carries a maximum sentence of 20 years in prison; and
naturalization fraud in connection with an act of international terrorism, which carries a maximum sentence of
25 years in prison.

EL DEBEK, 37, of Dearborn, Michigan, is charged with providing material support and resources to a
designated foreign terrorist organization, which carries a maximum sentence of 20 years in prison;
conspiracy to provide material support and resources to a designated foreign terrorist organization, which
carries a maximum sentence of 20 years in prison; receiving military-type training from a designated foreign
terrorist organization, which carries a sentence of 10 years in prison or a ﬁne; conspiracy to receive military-
type training from a designated foreign terrorist organization, which carries a maximum sentence of ﬁve
years in prison; possessing, carrying, and using ﬁrearms and destructive devices during and in relation to
crimes of violence, which carries a maximum sentence of life in prison; making and receiving a contribution
of funds, goods, and services to and from Hizballah, in violation of IEEPA, which carries a maximum
sentence of 20 years in prison; and conspiracy to make and receive a contribution of funds, goods, and
services to and from Hizballah, in violation of IEEPA, which carries a maximum sentence of 20 years in
prison.

The maximum potential sentences in this case are prescribed by Congress and are provided here for
informational purposes only, as any sentencing of the defendants will be determined by a judge.
Mr. Kim praised the outstanding efforts of the FBI’s New York Joint Terrorism Task Force, which principally
consists of agents from the FBI and detectives from the NYPD. Mr. Kim also thanked the FBI’s Detroit Ofﬁce
and the Counterterrorism Section of the Department of Justice’s National Security Division.

These prosecutions are handled by the Ofﬁce’s Terrorism and International Narcotics Unit. Assistant U.S.
Attorneys Emil J. Bove III and Amanda L. Houle are in charge of the prosecution of KOURANI, and Assistant
U.S. Attorneys Andrew D. Beaty and Stephen J. Ritchin are in charge of the prosecution of EL DEBEK. Trial
Attorneys Lolita Lukose and Alexandra Hughes of the National Security Division’s Counterterrorism Section
are assisting the prosecutions.

The charges contained in the Complaints are merely accusations, and the defendants are presumed
innocent unless and until proven guilty.



[1] As the introductory phrase signiﬁes, the entirety of the text of the Complaints and the description of the
Complaints set forth below constitute only allegations, and every fact described should be treated as an
allegation.


Attachment(s):
Download U.S. v. El Debek Complaint
Download U.S. v. Ali Kourani Complaint

Topic(s):
Counterterrorism

Component(s):
USAO - New York, Southern

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17-166

                                                                                         Updated December 11, 2017
